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                                          U.S. Departme

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                                                                                         10/21/2020
                                                    The Silvio J. Mollo Buil
                                                    One Saint Andrew’s Pla
                                                    New York, New York 10007



                                                    October 21, 2020

BY ECF & EMAIL

The Honorable Analisa Torres
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Naim Ismail, 18 Cr. 791 (AT)

Dear Judge Torres:

        The Government respectfully submits this letter to update the Court on the status of the
Government’s production of discovery in this case and to request a brief adjournment of the
Government’s deadline to produce discovery in this case, currently set for October 23, 2020. By
the end of this week, the Government will have produced a videotape of the defendant’s post-arrest
statement, an extraction of the defendant’s phone, copies of all search warrants in this case, and
approximately 200,000 pages of other documents, including bank records, records of lawsuits
brought against the defendant, and the contents of the defendant’s email account obtained pursuant
to a judicially authorized warrant. Those productions include material discoverable pursuant to
Rule 16 as well as many witness statements that would ordinarily constitute 3500 material,
including reports of witness interviews and documents prepared by the Government’s forensic
accountant.

       In reviewing the contents of the case file for relevant discovery, the Government has
undertaken to review approximately 7,000 email communications involving the group of agents
and analysts from the two agencies involved in this case, the Special Inspector General for
Afghanistan Reconstruction (“SIGAR”) and Homeland Security Investigations (“HSI”). In the
course of that review, the Government first learned of the existence and identity of a particular
SIGAR agent who supported the investigation. The Government has requested that agent’s email
communications for review as well, but has not yet received them from SIGAR. While the
Government anticipates that a small subset of those email communications will be discoverable,
pursuant to Rule 16, the review itself has proven more time-consuming than initially anticipated.

       In light of foregoing, the Government is unable to complete its discovery production by
October 23, 2020 and respectfully requests the Court allow the Government an additional two
weeks to complete its email review and production of discovery in this case. The Government has
no objection to a corresponding adjournment of the defendant’s deadline to file any pretrial
motions.
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